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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


UNITED STATES OF AMERICA


v.                                                   CRIMINAL ACTION NO. 3:03-00185-01
                                                     (CIVIL ACTION NO. 3:04-0825)
DONNIE BRYANT


                                            ORDER


       This action was referred to the Honorable Maurice G. Taylor, Jr., United States Magistrate

Judge, for submission to this Court of proposed findings of fact and recommendation for

disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of

fact and recommended that the Court deny the relief sought in this § 2255 proceeding. Neither party

has filed objections to the Magistrate Judge’s findings and recommendation.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and DENIES the relief sought in this § 2255 proceeding, consistent with

the findings and recommendation.

       The Court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Taylor, counsel of record, and any unrepresented parties.




                                             ENTER:         February 1, 2006




                                              ROBERT C. CHAMBERS
                                              UNITED STATES DISTRICT JUDGE
